Case 8:20-cv-02375-VAP-AFM Document 18 Filed 09/22/21 Page 1 of 2 Page ID #:37




   1   TRACY L. WILKISON
   2   Acting United States Attorney                     JS-6
       DAVID M. HARRIS
   3   Assistant United States Attorney
   4   Chief, Civil Division
       CEDINA M. KIM
   5
       Assistant United States Attorney
   6   Senior Trial Attorney, Civil Division
   7   STACY WIESBROCK, CSBN 257920
       Special Assistant United States Attorney
   8         Social Security Administration
   9         160 Spear St., Suite 800
             San Francisco, CA 94105
  10
             Telephone: (510) 970-4865
  11         Facsimile: (415) 744-0134
  12
             Email: stacy.wiesbrock@ssa.gov
       Attorneys for Defendant
  13                         UNITED STATES DISTRICT COURT
  14                       CENTRAL DISTRICT OF CALIFORNIA
                                    SOUTHERN DIVISION
  15
  16   CHRISTIAN CHO ANDERSEN,               ) No. 8:20-cv-02375-VAP-AFM
                                             )
  17                                         )
             Plaintiff,                      )
  18                                         ) JUDGMENT OF REMAND
                    v.                       )
  19                                         )
       KILOLO KIJAKAZI,1                     )
  20   Acting Commissioner of Social         )
                                             )
  21   Security,                             )
                                             )
  22                                         )
             Defendant.                      )
  23         The Court having approved the parties’ Stipulation to Voluntary Remand
  24   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
  25   (“Stipulation”) lodged concurrent with the lodging of the within Judgment of
  26   Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
  27
  28   1
        Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
       2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
       Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
       suit. No further action need be taken to continue this suit by reason of the last
       sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
Case 8:20-cv-02375-VAP-AFM Document 18 Filed 09/22/21 Page 2 of 2 Page ID #:38




   1   above-captioned action is remanded to the Commissioner of Social Security for
   2   further proceedings consistent with the Stipulation to Remand.
   3
   4   DATED: September 22, 2021
   5                                         HON. VIRGINIA A. PHILLIPS
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
